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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

HYPERQUERY, LLC,
    Plaintiff,
                                                     Civil Action No. 6:23-cv-00205-DAE
v.

ONE PLUS TECHNOLOGY (SHENZHEN)
                                                     JURY TRIAL DEMANDED
CO., LTD.,
      Defendant



                          NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Federal Rule 41 (a)(1)(A)(i), the Plaintiff, HyperQuery, LLC, files this notice

of voluntary dismissal of this action for all of Plaintiff’s claims as Defendant has not answered or

filed a motion for summary judgment. The dismissal of Plaintiff’s claims shall be WITH

PREJUDICE as to the asserted patent. Each party shall bear its own costs, expenses and attorneys’

fees.

 Dated: September 29, 2023

                                                      Respectfully submitted,

                                                      /s/ William P. Ramey, III
                                                      William P. Ramey, III
                                                      Texas Bar No. 24027643
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that September 29, 2023, the foregoing document was

served on all counsel of record who have consented to electronic service via the Court’s CM/ECF

system.


                                                  /s/ William P. Ramey, III
                                                  William P. Ramey, III




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